                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                        NORTHERN DIVISION AT GREENEVILLE

WESTFIELD NATIONAL INSURANCE                         )
COMPANY and UNITED STATES                            )
LIABILITY INSURANCE GROUP                            )
                                                     )
        Plaintiffs,                                  )
                                                     )
v.                                                   )       No. 2:20-CV-00115
                                                     )       TWELVE-MEMBER
                                                     )       JURY DEMANDED
STEVEN MCRAE d/b/a                                   )
MCRAE PLUMBING & EXCAVATING,                         )
                                                     )
        Defendant.                                   )

      ANSWER OF DEFENDANT STEVEN MCRAE D/B/A MCRAE PLUMBING &
            EXCAVATING TO THE AMENDED COMPLAINT [Doc. 6]

        Comes now the defendant Steven McRae d/b/a McRae Plumbing & Excavating and for

Answer to the Amended Complaint [Doc. 6] filed herein states as follows:

        1.      Defendant has no knowledge concerning the allegations at Paragraphs 1-8 of the

Amended Complaint.

        2.      In response to Paragraph 9 of the Amended Complaint, admits that he operates the

business identified at the place set forth. Defendant denies that he performed any plumbing work

for the Plaintiffs identified herein.

        3.      In response to Paragraphs 10 and 11 of the Amended Complaint, Defendant

admits that jurisdiction and venue are appropriate with this Court.

        4.      Paragraph 12 of the Amended Complaint does not appear to seek a response from

this Defendant.

        5.      Paragraph 13 of the Amended Complaint is admitted.




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       6.      In response to Paragraph 14 of the Amended Complaint, Defendant admits on

information and belief that water damage occurred at the subject property on the date identified.

Defendant denies the allegation as to the cause of the water damage and the remainder of the

allegations at Paragraph 14 of the Amended Complaint.

       7.      In response to Paragraph 15 of the Complaint, Defendant denies that he was

negligent in any manner. The remainder of the allegations at Paragraph 15 of the Amended

Complaint are denied.

       8.      Paragraph 16 of the Amended Complaint does not appear to seek a response from

this Defendant.

       9.      Defendant denies that he was negligent, reckless, careless, or otherwise engaged

in “liability producing conduct” as set forth at Paragraph 17 of the Amended Complaint.          The

remainder of the allegations at Paragraph 17 of the Amended Complaint are denied.

       10.     In response to Paragraph 18 of the Amended Complaint, Defendant denies that

any act or omission of this Defendant caused any damage to the Plaintiffs. The remainder of the

allegations at Paragraph 18 of the Amended Complaint are denied.

       11.     In response to Paragraphs 19-22 of the Amended Complaint, this Defendant

denies that he entered into any contract with Plaintiffs or Plaintiffs’ subrogors as identified in the

Amended Complaint. Wherefore, all of the allegations at Paragraphs 19-22 are denied.

       12.     Paragraph 23 of the Amended Complaint does not appear to seek a response from

this Defendant.

       13.     Defendant admits the allegations at Paragraph 24 of the Amended Complaint.

       14.     Defendant denies that he engaged in any improper conduct as set forth in the

Amended Complaint and further denies that he breached any warranty as set forth at Paragraph




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25 of the Amended Complaint.           The remainder of the allegations at Paragraph 25 of the

Amended Complaint are denied.

          15.    In response to Paragraphs 26-27 of the Amended Complaint, Defendant denies

that he breached any duty to Plaintiffs or Plaintiffs’ subrogors. The remainder of the allegations

at Paragraphs 26-27 of the Amended Complaint are denied.

          16.    All other averments of the Amended Complaint not hereinabove admitted,

explained or denied, are now denied, and are placed at issue and strict proof is demanded thereof.

          17.    Defendant, at this time, reserves the right to amend this Answer upon discovery

and raise any defenses as conform to the evidence as it further develops and as discovery reveals,

including the fault of the Plaintiffs, Plaintiffs subrogors, or other third party.

          NOW HAVING FULLY ANSWERED, Defendant Steven McRae d/b/a McRae

Plumbing & Excavating prays to be hence dismissed with costs taxed to Plaintiffs and their

sureties. Finally, Defendant respectfully demands a jury of twelve be impaneled to try the tort

action.

          Respectfully submitted this the 31st day of July, 2020.



                                                   /s/ Jason E. Fisher______________
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                                CERTIFICATE OF SERVICE

I hereby certify that on this the 31st day of July, 2020, a copy of the foregoing Answer of
Defendant Steven McRae d/b/a McRae Plumbing & Excavating to the Amended Complaint
was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will be
served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
system.


                                              /s/ Jason E. Fisher
                                              Jason E. Fisher (BPR #021467)




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